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'\" 2:01cR20268-01-D " ‘ ' "'\" *"’*“"“‘P` ‘S

ARTHUR THOMAS HEADLEY

E. Scott Ha|l, Retained
Defense Attorney

200 Jefferson Ave., Ste. 1313
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 2,3, & 6 of the indictment on Ju|y 12, 2002.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Count
Tit|e & Section N_EMM_Q Offense Number(s[
Qe!\¢=l_u¢M
21 U.S.C. § 841(a)(1) Possession of a Contro||ed Substance 10/18/2001 2
with lntent to Distribute
21 U.S.C. § 924(c) Carrying and Using a Firearm During 10/18/2001 3
and in Relation to a Drug Trafficking
Crime
21 U.S.C. § 841 (a)(1) Possession with lntent to Distribute 10/04/2001 6

Methamphetamine

The defendant is sentenced as provided in the following pages of this judgment. The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996

Count(s) 1,4, & 5 are dismissed on the motion of the United States.
|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

ihis document entered on the docket hee in cci/mpliance
with Flule 55 and/or 32(|:)) FRCrP on "

ff

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Case No: 2:01CR20268-01 Defendant Name: Arthur Thomas HEADLEV Page 2 of 5
Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 08/19/1976 April 15, 2005
Deft’s U.S. lVlarshal No.: 18018-076

Defendant’s Mai|ing Address:
2590 Oxford
Memphis, TN 38112

fe

ERN|CE . DONALD
UNiTED STATES DlSTR|CT JUDGE

/
April d § , 2005

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Case No; 2:01CR20268-01 Defendant Name: Arthur Thomas HEADLEY Page 3 of 5
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned 15 months as to Counts 2 and 6 to run concurrently; 27

months as to Count 3 to run consecutively to counts 2 and 6, for a total term of 42
Months.

The defendant is remanded to the custody of the United States l\/larsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. lVlarsha|

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Case No: 2:01CR20268-O1 Defendant Name: Arthur Thomas HEADLEY Page 4 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years on all counts concurrentl

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state

or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ofl"lcer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shaft permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:01CR20268-01 Defendant Name: Arthur Thomas HEADLEY Page 5 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ofticer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ocher, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such Hne or restitution in accordance with the Schedule of Payments set
forth in the Criminai lV|onetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer;

The defendant shall seek and maintain full-time employment;

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution
$300.00

The Special Assessment shall be due immediately

FlNE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
ease 2:01-CR-20268 Was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

1\/1emphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

